
The court however thought the witness inadmissible; and the following was tfie entry made on the order -book, 1 ‘The court having maturely considered the transcript of the record, *and the arguments of the counsel on both sides, are of opinion, that the said decree is erroneous, in this, that the said court permitted Wedford a witness to give testimony of the contents of a permit, not proved to have been lost. Therefore it is considered, by the court, that the same be reversed and annulled, and that the appel-lees pay, unto the appellants, their costs by them expended in prosecuting their appeal aforesaid here. And it is further ordered, that the jurors’ verdict, in this cause, be set aside; and the cause sent back, to the said court of admiralty, for a new trial to be had therein.”
